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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

       Defendant’s amended motion for new trial [Dkt. # 313] is hereby DENIED for the reasons

set forth in the memorandum opinion issued on this date. In accordance with the Judgment entered

on February 20, 2020 [Dkt. # 328], the conviction is final, and any appeal must be filed within

fourteen days of the date of this order. The defendant must surrender for service of his sentence

at the institution designated by the Bureau of Prisons at such time as he is notified by the

U.S. Probation or Pretrial Services Office, but no earlier than fourteen days after the date of this

order. Pursuant to 18 U.S.C. §3143(a)(2), the defendant remains on bond and he may voluntarily

surrender. Also, as of the date of this order, the defendant and his attorneys are hereby released

from the media communication order of February 15, 2019 [Dkt. # 36], the minute order of

February 21, 2019, and the order of July 17, 2019, [Dkt. # 149], although all other Court orders,

including those related to the confidentiality of materials, and all other conditions of the

defendant’s release, remain in place.




                                              AMY BERMAN JACKSON
                                              United States District Judge
DATE: April 16, 2020
